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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA
                                MIAMI DIVISION

            CASE NUMBER: 20-22508-CV-MARTINEZ/OTAZO-REYES

  MARCONI INTERNATIONAL
  UNIVERSITY, INC., et al.,

        Plaintiffs,

  vs.

  LAURA RICCI, et al.,

        Defendants.
  _________________________________/

                     ORDER ON PLAINTIFFS’ EX PARTE
               MOTION FOR ALTERNATIVE SERVICE OF PROCESS

        THIS CAUSE came before the Court upon Plaintiffs’ Corrected Ex Parte

  Motion for Alternative Service of Process on Defendants, Laura Ricci, Renato

  Bevilacqua, and MIA Global Business School, S.L. d/b/a MIA Digital University.

  [ECF No. 12]. After careful consideration, the Court grants the motion.

        Plaintiffs wish to serve Defendants through email. According to Plaintiffs,

  all Defendants are in Spain or Italy. Plaintiffs tried to serve Ricci via international

  courier and through her Miami-based counsel, but their efforts proved fruitless.

  Plaintiffs do not have an address for Bevilacqua, who is the President and Chief

  Executive Officer of MIA Digital University. Ricci and Bevilacqua, however, have

  recently communicated with Plaintiffs via email.

        Federal Rule of Civil Procedure 4(f)(3) gives district courts broad discretion

  to authorize alternative methods of service of process if such methods are allowed
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  by international agreement and are reasonably calculated to give notice to the

  defendants. See, e.g., Audemars Piguet Holdings SA v. 1forclock.ru, No. 18-

  60351-CIV, 2018 WL 7082665, at *1 (S.D. Fla. Feb. 22, 2018); Brookshire Bros.

  v. Chiquita Brands Int’l, Inc., No. 05-CIV-21962, 2007 WL 1577771, at *2 (S.D.

  Fla. May 31, 2007). Both requirements are met here. The international

  agreement at issue, the Hague Convention, does not prohibit service via email

  on defendants in Spain or Italy. See, e.g., adidas AG v. Individuals, Partnerships

  & Unincorporated Associations Identified on Schedule “A”, No. 19-CV-61264-UU,

  2019 WL 7841807, at *2 (S.D. Fla. May 23, 2019) (allowing service via email and

  website posting to defendants located in Italy and Spain, among other countries).

  And Plaintiffs have verified that Defendants’ emails are valid and working, and

  thus reasonably calculated to give notice. Therefore, the Court finds that

  Plaintiffs have shown good cause for leave to allow service of process via email.

        Accordingly, it is:

        ORDERED and ADJUDGED as follows:

        1.    Plaintiffs’ Corrected Ex Parte Motion for Alternative Service [ECF

  No. 12] is GRANTED.

        2.    Plaintiffs shall serve the Complaint and Summonses upon

  Defendant Laura Ricci at laura.ricci2303@gmail.com.

        3.    Plaintiffs shall serve the Complaint and Summonses upon

  Defendant Renato Bevilacqua at italiaequa@gmail.com.

        4.    Plaintiffs shall serve the Complaint and Summonses upon

  Defendant MIA Global Business School, S.L. d/b/a MIA Digital University upon


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  its President and CEO, Renato Bevilacqua, at italiaequa@gmail.com.

        DONE and ORDERED in Chambers at Miami, Florida, this 3rd day of

  August 2020.



                                    _______________________________
                                    JOSE E. MARTINEZ
                               UNITED STATES DISTRICT COURT JUDGE

     Copies Furnished To:
     All Counsel of Record




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